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  IT IS ORDERED as set forth below:



  Date: September 21, 2022
                                                     ________________________________
                                                                 Paul Baisier
                                                         U.S. Bankruptcy Court Judge

 _______________________________________________________________




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION


IN RE:                                           :          CASE NO. 21-58266-PMB
                                                 :
NATASHA ELEANOR PIERRE,                          :          CHAPTER 7
                                                 :
         Debtor.                                 :
                                                 :


  ORDER APPROVING SETTLEMENT AGREEMENT UNDER RULE 9019 OF THE
            FEDERAL RULES OF BANKRUPTCY PROCEDURE

         On August 22, 2022, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

estate (the “Bankruptcy Estate”) of Natasha Eleanor Pierre (“Debtor”), filed his Motion for

Order Authorizing Settlement between Trustee and Debtor under Rule 9019 of the Federal Rules

of Bankruptcy Procedure [Doc. No. 23] (the “Settlement Motion”) and related papers with the
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Court, seeking an order, among other things, approving a certain Settlement Agreement 1 between

Trustee and Debtor (collectively, the “Parties”) wherein, inter alia, 2 Debtor shall pay a total of

$11,000.00 (the “Settlement Funds”) to Trustee through certain Scheduled Payments for the

interest of the Bankruptcy Estate (the “Interest”) in a certain improved real property with a

common address of 5873 Sable Chase Drive, Atlanta, Georgia 30349 (the “Property”). 3 In return,

the Interest of the Bankruptcy Estate in and to the Property shall be deemed abandoned upon the

later of: (1) Trustee’s receipt in full of the $11,000.00 Settlement Funds from Debtor in good funds;

or (2) this Order becoming final. In addition, the Parties stipulate and agree that Debtor shall not

have a claim under Section 502(h) of the Bankruptcy Code in the Bankruptcy Case for or on

account of payment of the Settlement Funds, or for any reason, and that neither Debtor nor any of

her affiliates, agents, principals, or subsidiaries shall receive a distribution from the Bankruptcy

Estate. Moreover, Debtor waives all obligations that the Bankruptcy Estate may otherwise have

to pay to Debtor out of the Settlement Funds on account of exemptions asserted by or on behalf of

Debtor, if any, in the Property, the Interest, or the Settlement Funds. Finally, the Settlement

Agreement includes default provisions should Debtor fail to make timely the Scheduled Payments

totaling $11,000.00. The exact terms of the Settlement Agreement are set forth in Exhibit “A” to

the Settlement Motion.




1
       Capitalized terms used in this Order but not otherwise defined shall have the meanings
ascribed to them in the Settlement Motion.

2      The following is a summary of the Settlement Agreement and is not intended to be
comprehensive. To the extent that anything in this summary is contrary to the terms of the
Settlement Agreement, the Settlement Agreement controls.

3      Trustee estimates that the proposed settlement will allow him to make a meaningful, if not
substantial distribution to holders of timely filed, unsecured claims.
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       On August 23, 2022, Trustee filed a Notice of Motion for Order Authorizing Settlement

between Trustee and Debtor under Rule 9019 of the Federal Rules of Bankruptcy Procedure;

Deadline to Object; and for Hearing [Doc. No. 24] (the “Notice”) regarding the Settlement

Motion, in accordance with the Second Amended and Restated General Order No. 24-2018.

Counsel for Trustee certifies that he caused service of the Notice on all requisite parties in interest

on August 23, 2022. [Doc. No. 25].

       The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in the Second Amended and Restated General Order No. 24-2018. No objection to the

Settlement Motion was filed prior to the objection deadline provided in the Notice.

       The Court having considered the Settlement Motion and all other matters of record,

including the lack of objection to the relief requested in the Settlement Motion, and, based on the

forgoing, finding that no further notice or hearing is necessary; and, the Court having found that

good cause exists to grant the relief requested in the Settlement Motion, it is hereby

       ORDERED that the Settlement Motion is GRANTED: the Settlement Agreement is

APPROVED, and its terms are incorporated herein by reference. It is further

       ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement Agreement and the Settlement Motion. It is further

       ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce this

Order, (ii) resolve any disputes regarding or concerning the Settlement Agreement, and (iii) enter

such other and further orders as may be necessary, just, or proper as an aid to enforcement or

implementation of this Order.

                                     [END OF DOCUMENT]
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Order prepared and presented by:

ROUNTREE LEITMAN KLEIN & GEER LLC
Attorneys for Trustee

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Identification of entities to be served:

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